           Case 1:17-mj-00091-TCB Document 1 Filed 02/27/17 Page 1 of 3 PageID# 1

                                                                                            FILED


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA                        ZflU FEB 21 A & Ub
                                          Alexandria Division


UNITED STATES OF AMERICA
                                                                                                    I



      V.

                                                      DOCKET NO. l:17-mj-^| - tig
MICHELLE F. FAYAK
                                                      INITIAL APPEARANCE: April 3, 2017


                                     CRIMINAL INFORMATION

                                       COUNT I - Misdemeanor


THE UNITED STATES ATTORNEY CHARGES THAT:


  On or about November 16,2016, at Fort Belvoir, Virginia, within the special maritime and

territorial jurisdiction of the United States in the Eastern District of Virginia, the defendant,

MICHELLE F. FAYAK, did assault by striking, beating, or wounding, CHRISTINE A.

HASSELIUS.

   (In violation of Title 18 U.S. Code, Section 113(a)(4)).
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Case 1:17-mj-00091-TCB Document 1 Filed 02/27/17 Page 3 of 3 PageID# 3
